 Case 4:21-cv-01236-O Document 227 Filed 02/21/23               Page 1 of 37 PageID 7676


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALS 1-3, et al.,
                            Plaintiffs,
       v.                                               Case No. 4:21-cv-01236-O
LLOYD AUSTIN, III, in his official capacity as
Secretary of Defense, et al.,
                            Defendants.



DEFENDANTS’ SUPPLEMENTAL APPENDIX IN SUPPORT OF THEIR REPLY IN
          SUPPORT OF THEIR ASSERTION OF MOOTNESS


                                      Table of Appendix
   Bates Stamps                                      Description
 App001–App004         Ex. 1 - NAVADMIN 038/23
 App005–App012         Ex. 2 - NAVADMIN 234/22
 App013–App035         Ex. 3 - Second Declaration of Captain Gareth J. Healy with attachment


Dated: February 21, 2023                   Respectfully submitted,

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Case 4:21-cv-01236-O Document 227 Filed 02/21/23           Page 2 of 37 PageID 7677


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               Exhibit 1




                                                                       App 001
Case 4:21-cv-01236-O Document 227 Filed 02/21/23    Page 4 of 37 PageID 7679


CLASSIFICATION: UNCLASSIFIED//
ROUTINE
R 152142Z FEB 23 MID600052759268U
FM CNO WASHINGTON DC
TO NAVADMIN
INFO SECNAV WASHINGTON DC
CNO WASHINGTON DC
BT
UNCLAS

NAVADMIN 038/23

MSGID/NAVADMIN/CNO WASHINGTON DC/CNO/FEB//

SUBJ/U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE 8.0//

REF/A/MSG/CNO/191436ZOCT22//
REF/B/MSG/SECNAV/201839ZJAN23//
REF/C/DOC/USD(PR)/30JAN2023//
REF/D/MSG/CNO/041827ZAUG21//
REF/E/OPNAVINST F3100.6K/10AUG21//

NARR/ REF A is NAVADMIN 234/22, U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL
GUIDANCE 7.0.
REF B is ALNAV 009/23 RESCISSION OF COVID-19 VACCINATION REQUIREMENT FOR
MEMBERS OF THE ARMED FORCES.
REF C is USD P&R CONSOLIDATED DEPARTMENT OF DEFENSE CORONAVIRUS DISEASE 2019
FORCE HEALTH PROTECTION GUIDANCE available at
https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/Latest-DOD-
Guidance/ (Select "Health Protection Guidance" tab from the site menu on the
left).
REF D is NAVADMIN 165/21, SOVEREIGN IMMUNITY POLICY.
REF E is OPNAVINST F3100.6K, SPECIAL INCIDENT REPORTING PROCEDURES.
POC/OPNAV/COVID CELL, (703) 571-2822//EMAIL:
OPNAV_COVID_CRISIS_RESPONSE_CELL@US.NAVY.MIL.

RMKS/1. This NAVADMIN provides updated COVID-19 Standardized Operational
Guidance (SOG 8.0), and rescinds and replaces reference (a) in its entirety,
including the requirement that all personnel assigned to operational
Navy units be fully vaccinated against COVID-19. Reference (b) rescinded
the COVID-19 vaccination requirement for Department of the Navy Service
members. Under no circumstances shall a Commander mandate that any Navy
Service member receive the COVID-19 vaccination.

2. Steady State COVID-19 Posture. Commanders at all levels are directed
to balance operational employment with the health and safety of their
units in accordance with current USD (P&R) Force Health Protection Guidance
(reference (c)). Commanders and medical providers are also encouraged to
consider the COVID-19 Operational Risk Management Matrix for Deployments
(available at https://media.defense.gov/2023/Feb/13/2003160523/-1/-
1/0/BUMED%20NAVY%20COVID-19%20OPERATIONAL%20RISK%20MATRIX.PDF as a tool to
evaluate risks to mission, force, and individuals.

3. Mission Risk. Commanders should seek advice from medical providers
regarding medical readiness of personnel to inform deployment and other
operational mission decisions. COVID-19 vaccination status shall not be
a consideration in assessing individual service member suitability for



                                                                          App 002
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deployment or other operational missions. Commanders retain the authority
to implement Health Protection Measures at any time or manner deemed
necessary in support of operational safety and effectiveness, and where
necessary, to restrict movement of service members in order to comply with
host nation quarantine regulations. Geographic Navy Component Commanders
(GNCC) will coordinate with country teams and local authorities to
identify any host nation requirements related to COVID-19 testing
or vaccination status that may restrict or create conditions-based
criteria for liberty.

4. Sovereign Immunity. U.S. Government policy protects the sovereign
immunity of warships, naval auxiliaries, and aircraft, including protecting
crew information to the maximum extent possible. Within the context of COVID-
19, host nations may request or require crew or ship information that exceeds
that authorized by U.S. policy or international law.

4.a. GNCCs will assess and determine in advance any host nation quarantine
regulation requirements that may challenge U.S. sovereign immunity policy
(see reference (d) for additional guidance). In all cases, GNCCs shall
authorize the minimum information necessary to meet operational requirements.
The Navy Declaration of Health (NAVMED 6210/3) is the only authorized form
for providing health information to foreign officials. If required by the
host nation, the GNCC may authorize Commanders to include on the NAVMED
6210/3 or on a separate U.S. generated document accompanying the NAVMED
6210/3 (e.g., Command Letterhead) that their unit is 100% vaccinated, those
disembarking have tested negative within the required timeframe, or that
those disembarking have received a COVID-19 vaccine booster. GNCC authority
to approve these COVID-19 related exceptions to sovereign immunity policy may
be delegated no further than the numbered Fleet Commander.

4.b. Exceptions to Policy (ETP). Where host nation quarantine regulations
create requirements outside of the exceptions listed in paragraph 4.a, GNCCs
shall determine, in accordance with reference (d), whether such requirements
constitute a potential waiver of sovereign immunity. Any action the GNCC
determines may constitute a waiver of sovereign immunity must be coordinated
with OPNAV N3N5 for approval no later than five days ahead of need. To avoid
setting precedence beyond COVID-19, ETPs will be messaged to the host nation
as explicitly linked to the pandemic. Requests shall include justification
for port selection, host nation mitigation and testing requirements,
alternate port options, impact to mission if the request is denied, medical,
legal, collection and privacy risk, and feedback from country team
coordination. ETP notifications and requests may be sent via record message
traffic or to the OPNAV N3N5 Legal and Oceans Policy Advisor.

4.c. Guidance for Commanders. Per GNCC direction, Commanders
shall comply with domestic and foreign quarantine regulations for port entry
and document compliance on NAVMED 6210/3. Absent GNCC approval in advance,
Commanders will not submit to host nation COVID-19 testing nor provide
individual or collective medical data, copies of health records, nor any
supplementary or locally-demanded health forms, and shall not grant access
to ship or crew health records or allow the same to be searched or inspected
by host nations. If compelling circumstances require a Commander to acquiesce
to additional host nation requirements without obtaining an ETP or GNCC
concurrence (e.g., personnel emergency, weather avoidance), report the event
and circumstances as soon as practicable to OPNAV N3N5 via the chain of
command.




                                                                         App 003
Case 4:21-cv-01236-O Document 227 Filed 02/21/23    Page 6 of 37 PageID 7681


5. Reporting Procedures. Individual COVID-19 cases do not need to be
reported. Medical providers shall report pandemic or infectious disease
related medical evacuations, hospitalizations, and deaths via Disease
Reporting System, internet (DRSi). OPREP-3 Navy Blue messages are required
for significant shipboard operational impacts due to pandemic or infectious
disease. Format messages per reference (e).

6. Released by VADM E. H. Black, III, Deputy Chief of Naval Operations for
Operations, Plans and Strategy, OPNAV N3N5.//

BT
#0001
NNNN
CLASSIFICATION: UNCLASSIFIED//




                                                                         App 004
Case 4:21-cv-01236-O Document 227 Filed 02/21/23   Page 7 of 37 PageID 7682




               Exhibit 2




                                                                       App 005
2/16/23, 10:41 AM     https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA…
             Case 4:21-cv-01236-O Document 227 Filed 02/21/23                      Page 8 of 37 PageID 7683
  ROUTINE
  R 191436Z OCT 22 MID600052386622U
  FM CNO WASHINGTON DC
  TO NAVADMIN
  INFO SECNAV WASHINGTON DC
  CNO WASHINGTON DC
  BT
  UNCLAS

  NAVADMIN 234/22 (CORRECTED COPY)

  MSGID/NAVADMIN/CNO WASHINGTON DC/CNO/OCT//

  SUBJ/U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE 7.0
  (CORRECTED COPY)//

  REF/A/MSG/CNO/111536ZAPR22//
  REF/B/DOC/USD(PR)/29AUG2022//
  REF/C/DOC/NMCPHC/27DEC2021//
  REF/D/DOC/NMCPHC/14MAY2021//
  REF/E/DOC/NMCPHC/19MAR2021//
  REF/F/MSG/CNO/041827ZAUG21//
  REF/G/MSG/CNO/231718ZAUG21//
  REF/H/OPNAVINST F3100.6K/10AUG21//

  NARR/REF A is NAVADMIN 093/22, U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL
  GUIDANCE 6.0 (CORRECTED COPY).
  REF B is USD P&R CONSOLIDATED DEPARTMENT OF DEFENSE CORONAVIRUS DISEASE 2019
  FORCE HEALTH PROTECTION GUIDANCE available at
  https://www.defense.gov/Explore/Spotlight/Coronavirus/Latest-DOD-Guidance/
  (Select "Health Protection Guidance" tab from the site menu on the left).
  REF C is NAVY AND MARINE CORPS PUBLIC HEALTH CENTER COVID 19 OMICRON VARIANT
  AND BOOSTER EFFECTIVENESS.
  REF D is NAVY AND MARINE CORPS PUBLIC HEALTH CENTER U.S. NAVY FORCE HEALTH
  PROTECTION WITH CONSIDERATIONS FOR VACCINE EFFICACY.
  REF E is NAVY AND MARINE CORPS PUBLIC HEALTH CENTER DOCUMENT ASSESSING REAL
  COVID-19 RISK.
  REF F is NAVADMIN 165/21, SOVEREIGN IMMUNITY POLICY.
  REF G is NAVADMIN 180/21, UPDATE 3 TO NAVY COVID-19 REPORTING REQUIREMENTS.
  REF H is OPNAVINST F3100.6K, SPECIAL INCIDENT REPORTING PROCEDURES.
  POC/OPNAV/COVID CELL TEAM LEAD, (703) 571-2822//EMAIL:
  OPNAV_COVID_CRISIS_RESPONSE_CELL@US.NAVY.MIL.

  RMKS/ 1. Purpose. This NAVADMIN provides updated COVID 19 Standardized
  Operational Guidance (SOG 7.0) and replaces reference (a).

  2. Summary. SOG 7.0 driving objectives remain the health and safety of our
  Sailors and civilians while preserving operational readiness. The virus is
  still with us and it is still dangerous, and the combination of vaccines,
  boosters, command engagement and personal accountability continue to be our
  best defense. SOG 7.0 should be read in its entirety. Clarifying edits
  based upon fleet feedback have been incorporated throughout. Notable
  changes include guidance for training personnel (paragraph 5.e), definition
  of close contacts (paragraph 5.j), use of N3N5 as Navy Component Commander
  (NCC) for commands with non-operational reporting chains (paragraph 5.e),
  guidance on meetings with greater than 50 participants (paragraph 8.k), and
  cancels reference (g) (Update 3 to Navy COVID-19 Reporting Requirements)
  (paragraph 10).

  3. Applicability. SOG 7.0 applies to all service members (active duty and
  ready reserve) assigned to or supporting operational units as defined in
  paragraph 5.e below (Operational and Non-Operational Forces).
  Non-operational forces, civilian employees and contractor personnel should
  follow the latest Department of Defense (DOD) Force Health Protection,
                                                                                                                   App 006
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA%3d%3d               1/7
2/16/23, 10:41 AM     https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA…
  Centers Case  4:21-cv-01236-O
          for Disease             Document (CDC),
                      Control and Prevention 227 Filed 02/21/23 Page
                                                  and state/local area 9 of 37 PageID 7684
  guidance, and seek policy clarification via local command Human Resource
  channels. Additionally, higher echelon Commanders guidance may apply.

  4. Evolving Guidance. The CDC is the authority for COVID-19 measures on
  behalf of the general public. The Navy Surgeon General remains as the
  authority for Navy COVID 19 measures and advises the Chief of Naval
  Operations (CNO) on how best to apply CDC guidance across the spectrum of
  unique Navy operating environments, and may include additional measures not
  required by the general public. Accordingly, and except when specifically
  referred to the CDC website (e.g., booster approval and guidance), evolving
  CDC guidance related to virus behavior and mitigations shall first be
  evaluated by the Navy Surgeon General prior to Fleet implementation.
  Questions regarding applicable COVID-19 measures may be directed to the
  point of contact (POC) listed above.

  5. Definitions. CDC definitions regarding COVID-19 are kept current on the
  CDC website (https://www.cdc.gov). The following additional DoD definitions
  are provided:

  5.a. Fully Vaccinated: Term for an individual who has completed a primary
  COVID-19 vaccine series as defined in reference (b). Applies two weeks
  after the final dose is received. During the time period from initial dose
  until two weeks after the final dose, an individual is considered partially
  vaccinated.

  5.b. Up to Date (UTD) COVID 19 Vaccination: Term for an individual who has
  received all CDC recommended COVID-19 vaccine dose(s), including booster
  dose(s), if eligible. UTD COVID-19 vaccine and booster guidance is subject
  to change and is available on the CDC website.

  5.c. High-Risk Personnel: Those individuals designated by a medical
  provider who meet CDC criteria for increased risk of severe illness.
  Qualifying conditions are included on the CDC website.

  5.d. Commander: For the purposes of this NAVADMIN, the term Commander
  includes Commanding Officers, Officers-in-Charge, Masters, and Aircraft
  Commanders.

  5.e. Operational and Non-Operational Forces: For the purposes of this
  NAVADMIN, operational forces and non-operational forces are defined and
  promulgated by the applicable NCC. For operational forces, this might
  include deployed forces, forces in sustainment, or other operational
  elements that the NCC determines to fall within the intent and context of
  this NAVADMIN. Personnel conducting training in underway or operational
  airborne Navy platforms are considered operational forces. OPNAV N3N5 shall
  act as the NCC for units that do not report via an operational NCC (e.g.,
  USS CONSTITUTION, USNA, ROTC units, etc.).

  5.f. Restriction of Movement (ROM): Term for limiting personal interaction
  to reduce risk to a broader population. Personnel executing directed ROM
  remain in a duty status and will not be charged leave. ROM-sequester, when
  directed, is the Navy term for preemptive ROM in order to reduce risk of
  infection in advance of movement. Because of the Navy vaccination policy,
  ROM and ROM sequester are now rare, but may be required in specific cases or
  in concert with movement to a foreign country. For tracking and trending
  purposes, report instances of ROM and ROM-sequester to N3N5 via the POC
  listed above.

  5.g. Isolation. The separation of an individual or group infected or
  believed to be infected with a communicable disease from those who are
  healthy in such a place and manner to prevent the spread of the communicable
  disease.

  5.h.    Health Protection Measures (HPM):          Comprehensive term for mitigation
                                                                                                                   App 007
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA%3d%3d               2/7
2/16/23, 10:41 AM     https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA…
  measuresCase
           that 4:21-cv-01236-O
                 reduce the spread Document   227This
                                   of COVID-19.    Filed 02/21/23
                                                      includes      Page 10 of 37 PageID 7685
                                                               physical
  distancing, wearing masks, and enhanced environmental cleaning and
  disinfection.
  Recommended HPMs are included on the CDC website and in paragraph 8 below.

  5.i. Viral Test: For the purposes of this NAVADMIN viral test may refer to
  either a test that measures the antigens (antigen test) or a test that
  measures viral RNA (nucleic acid amplification test (NAAT) to include
  Polymerase Chain Reaction (PCR) test).

  5.j. Close Contact: The definition of a close contact has become more
  discretionary (no longer strictly within 6 feet for greater than 15 min
  within 24 hrs). Per reference (b), a close contact is now identified
  through contact tracing and exposure risks. Exposure risks are based upon
  multiple factors that can result in higher transmission risk,
  including: length of time and distance from an infected person; if that
  infected person was coughing, singing, shouting, or breathing heavily; if
  that infected person had symptoms at the time of exposure; if either or both
  persons were wearing a mask or respirator; and, how well ventilated the
  space was.

  6. ACTION: Per reference (b), all personnel assigned to operational Navy
  units shall be fully vaccinated against COVID 19. To ensure continuing
  protection, all personnel assigned to operational units are encouraged to
  remain UTD on vaccinations. Unvaccinated personnel shall not execute orders
  to operational Navy units. Commanders of operational units shall
  temporarily reassign unvaccinated personnel from their commands with the
  concurrence of the first flag officer in the operational chain of command
  (or OPNAV N3N5, as applicable per paragraph 5.e). Exceptions will be
  managed case-by-case by the applicable NCC and reported to the POC listed
  above.

  6.a. Actions for personnel suspected of being infected:

  6.a.1. Symptomatic. Test immediately those individuals exhibiting
  COVID-19 symptoms. If positive, isolate the individual per paragraph

  6.a.3. and identify close contacts per reference (b).

  6.a.2. Close Contact. Remain on duty, but wear a mask for 10-days starting
  on the day identified as a close contact. If symptoms develop, isolate
  until tested and carry out the actions of paragraph 6.a.1.

  6.a.3. Isolation. Isolate individuals who test positive for five days or
  until symptoms are clearing, whichever is longer, including 24 hours with no
  fever and without fever-reducing medication (day zero is date of positive
  test or symptom onset, whichever occurred first). Isolation may be
  conducted either ashore or afloat. Once released, individuals will wear a
  mask for an additional five days (minimum 10 days total). No exit testing
  is required.

  6.b. Actions for Unvaccinated Personnel. In addition to the actions in
  paragraphs 6.a above, if a person develops symptoms who is unvaccinated,
  partially vaccinated, or unwilling to disclose their vaccination status or
  is identified as a close contact (e.g., during the transfer process), refer
  the individual to medical providers.

  7.   COVID-19 Testing.

  7.a. Test Procurement. Demand for testing supplies remains high.
  To ensure uninterrupted operations, and as feasible, commands should
  coordinate with their supporting supply activities to obtain testing
  supplies 60 days in advance of need. This should include additional tests
  required for U.S. testing of personnel during anticipated port calls.
                                                                                                                   App 008
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA%3d%3d               3/7
2/16/23, 10:41 AM     https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA…
        Case 4:21-cv-01236-O
  7.b. Testing                   Document
               of Persons Previously        227
                                     Infected withFiled 02/21/23
                                                    COVID-19.                      Page 11 of 37 PageID 7686
  Because of lingering non-infectious virus activity, persons have tested
  positive for up to 90-days following diagnosis.
  Accordingly, viral retesting is neither required nor recommended within 90
  days of initial diagnosis. If symptoms develop at any time during this same
  90-day period, isolate until evaluated by a medical provider.

  7.c. Surveillance / Command-Wide Testing. Surveillance or command-wide
  testing is not required or recommended and has previously identified large
  numbers of asymptomatic persistent false positives.

  7.d. Testing Priority. Personnel exhibiting COVID-19 symptoms are the
  highest priority for testing. If testing asymptomatic close contacts per
  paragraph 6.a.2 will stress testing supplies, or if operations preclude
  testing (e.g., small, remote teams or depleted testing supplies), Commanders
  are authorized to forego testing asymptomatic close contacts regardless of
  their vaccination status. This prioritization is consistent with CDC
  guidance (https://www.cdc.gov/coronavirus/2019-ncov/php/
  contact-tracing/contact-tracing-plan/prioritization.html).

  8. Operating in a COVID-19 Environment. The guidance in this section
  endeavors to balance risk to force and risk to mission with the risk of
  operating in a COVID-threat environment. Broad latitude is afforded both
  NCCs and their subordinate Commanders.

  8.a. Up-to-date (UTD) COVID-19 Vaccination. Commanders should encourage
  UTD COVID-19 vaccination of personnel at least 30-days prior to
  deployment-related movements or operations.

  8.b. Medical Screening. Medically screen newly reported personnel and
  conduct a command-wide monthly data review and assessment in
  high-transmission areas, as directed by the NCC. Complete an additional
  pre-deployment screening seven days prior to deployment.
  Screening shall be conducted by medical providers and reported to the unit
  Commander to assist in assessing risk and mitigations.
  Screening will include, at a minimum, vaccination and vaccine booster
  status, review and assessment of COVID-19 exposure history (those under the
  90-day rule), and underlying risk factors.

  8.c. Military Sealift Command (MSC). Commander MSC will exercise such
  exceptions and mitigations regarding Civil Service Mariners
  (CIVMARs) and contract personnel, in accordance with existing MSC Quality
  Management System processes and procedures.

  8.d. Fully vaccinated High-Risk Personnel. The decision to operate and
  deploy with fully vaccinated high-risk personnel rests with the Commander,
  as advised by medical providers, who must report intentions to their
  immediate superior in command.
  High-risk personnel shall be PCR viral tested within three days prior to
  embarking.

  8.e. Pre-Deployment ROM-sequester. Fully vaccinated personnel should not
  normally ROM-sequester ahead of planned operations.
  However, Geographic Combatant Commanders (GCC) and some host nations may
  direct ROM-sequester prior to deploying to specific areas of operation. Per
  paragraph 5.f, and for tracking and trending purposes, report instances of
  ROM and ROM-sequester to N3N5 via the POC listed above.

  8.f. Underway HPM. As a result of demonstrated vaccine effectiveness, a
  100% fully vaccinated operational force, and a healthy demographic, serious
  illness or death resulting from COVID-19 for fully vaccinated individuals is
  statistically unlikely, and modeling contained in references (c), (d), and
  (e) indicates this will continue in the context of current variants. UTD
  COVID-19 Vaccination reduces the risk even further. However, the increasing
  contagious nature of evolving variants, combined with the isolation
                                                                                                                   App 009
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA%3d%3d               4/7
2/16/23, 10:41 AM     https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22234.txt?ver=mcsQaYc0Zd6WmDmJZM3XhA…
         Case of
  requirements 4:21-cv-01236-O    Document
                  paragraph 6.a.3.,          227
                                    can result    Filed 02/21/23
                                               in unmanageable     Page
                                                               numbers of12 of 37 PageID 7687
                                                                          even
  mild illnesses, and increased risk to force or risk to mission.
  The following HPM, at a minimum, are required as practicable:

  8.f.1.     Medical screening as outlined above in paragraph 8.b.

  8.f.2. Masks. Following inport periods, Commanders should consult with
  medical providers regarding the inport threat environment and may consider
  wearing masks for the first 10-days at sea following departure from port.
  Similarly, Commanders may consider wearing masks in response to the onset of
  onboard COVID-19 cases until the spread is bounded and the impact is
  assessed.

  8.f.3. Educate and reinforce the importance of both self-monitoring for
  symptoms and prompt reporting.

  8.f.4. Educate and reinforce the importance of frequent hand-washing or
  sanitizing and social distancing, when possible.

  8.f.5.     Aggressively isolate COVID-19 positive individuals per paragraph 6
  above.

  8.f.6.     Ensure adequate ventilation in spaces routinely manned.

  8.f.7. Educate and reinforce focused cleaning efforts on high-touch
  surfaces, at least daily or more frequently, depending upon usage (e.g.,
  tables, hatch latches, ladderwells, phones, watch console keyboards and
  buttons, toilets, faucets, sinks, etc.). Although remote, there is evidence
  of surface spread of COVID-19 and other viruses with similar symptoms.

  8.g. Considerations for Adding or Relaxing HPM. NCCs and Commanders should
  consider for any unit the operational impact resulting from the number of
  Sailors in isolation, either ashore or afloat, regardless of percentage of
  immunized personnel, UTD COVID-19 Vaccinations, or severity of symptoms.
  Commanders may elevate or relax HPM at any time in support of operational
  safety and effectiveness and retain the latitude to temporarily apply
  alternate HPM in lieu of isolation. An example might be a rapid spread that
  compels a Commander to employ asymptomatic or mildly symptomatic positives
  to manage watch-bill impact while recovering others in isolation, applying
  additional alternate measures as needed to minimize spread. The following
  should be considered before adjusting HPM:

  8.g.1. Overall number of individuals in isolation and trend.
  The general rule of thumb for a COVID-19 outbreak trending in a favorable
  direction is that the number of those exiting isolation matches (flattening
  curve) or exceeds (lowering curve) those entering isolation, combined with
  the assessment that the total number of symptomatic individuals is
  manageable and improving, and watch-bill (operational) impact is manageable
  and improving.

  8.g.2. In the presence of onboard COVID 19, if less than 75% of the total
  eligible crew is UTD for vaccinations (meaning more than 25% of the crew
  meets the criteria for, but has not received a vaccine booster, implement
  the requirements of 8.f.2 (mask wearing) until the impact and trend (8.g.1)
  are determined.

  8.g.3. Proximity to shore or afloat Medical Treatment Facilities, balanced
  with HPM and onboard trend. For example, crews that are
  100 percent fully vaccinated with a manageable COVID-19 case load may choose
  to operate in locations within a one week timeline to a Medical Treatment
  Facility, while crews with a growing caseload may more prudently move to a
  72-hour or less timeline.

  8.h. Port Visits. Liberty is an important mission and should be pursued
  within the context of this NAVADMIN. Geographic Navy Component Commanders
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                                                              in coordination
  with country teams and local authorities, taking into account host country
  requirements, vaccination and booster status, sovereign immunity per
  paragraph 9 below, COVID-19 prevalence and mission requirements.

  8.i. Aircraft Operations. On a case-by-case basis, Squadron Commanders may
  exempt aircrews and aircraft maintainers from this guidance in order to meet
  emergent operational or NATOPS currency requirements. Exemptions and
  mitigation plans must be approved by the Squadron Commander. This authority
  may be delegated to Officers in Charge of deployed detachments. For
  aviation units embarked on surface ships, mitigation plans will be
  coordinated with the ships health protection plan and approved by the ships
  Commanding Officer or Master.

  8.j. Post-Deployment. Personnel returning to homeports from deployment
  shall follow CDC and U.S. Department of State travel and testing
  requirements. If return travel includes foreign countries, personnel shall
  follow the travel and testing requirements for those individual countries,
  subject to sovereign immunity concerns (paragraph 9 below). Updated travel
  information is on the following
  website: https://travel.state.gov.

  8.k. 50+ Participant Meetings. Reference (b) directs additional approval
  requirements for Navy sponsored in-person gatherings with more than 50
  participants. When local installation HPCON level is "Charlie" or greater,
  Under Secretary of the Navy approval is required. All meeting organizers
  should require all attendees to follow requirements of exposure risk,
  including distancing.
  Meeting requests for Under Secretary of the Navy approval shall be routed
  through the resource owner to the Director of Navy Staff.
  Reference (b) exempts military training and exercise events from this
  requirement. NCCs shall use discretion when exercising this exemption,
  balancing the health and safety of participants with the potential elevated
  risk posed by the exemption.

  9.   Sovereign Immunity.

  9.a. It is U.S. Government policy to protect the sovereign immunity of
  warships, naval auxiliaries, and aircraft, including protecting crew
  information to the maximum extent possible. Within the context of COVID-19,
  host nations may request or require crew or ship information that exceeds
  that authorized by U.S. policy or international law. NCCs will ensure
  appropriate training and guidance on protecting U.S. sovereign immunity and
  on the protection of health information as part of OPSEC/personal security.

  9.b. GNCCs should endeavor to determine in advance those host nations that
  may challenge U.S. sovereign immunity and, as able, avoid them. See
  reference (f) for additional guidance. In all cases, GNCCs shall authorize
  the minimum information necessary in order to meet operational requirements.
  The Navy Declaration of Health (NAVMED 6210/3) is the only authorized form
  for providing health information to foreign officials. If required by the
  host nation, and with GNCC concurrence, Commanders, at their discretion, may
  include on the NAVMED 6210/3 (or on a separate U.S. generated document
  accompanying the NAVMED 6210/3 (e.g., Command Letterhead) that their unit is
  100% UTD vaccinated, those disembarking have tested negative within the
  required timeframe, or that those disembarking have received a vaccine
  booster. GNCCs may delegate concurrence authority no lower than numbered
  fleet Commanders.

  9.c. Exceptions to Policy (ETP). On a case-by-case basis, and to support
  operations, OPNAV N3N5 may grant an ETP to mitigate the operational impact
  of host nation requirements. Any action that may constitute or require a
  waiver of sovereign immunity must be coordinated by the applicable GNCC with
  OPNAV N3N5 for ETP approval no later than five days ahead of need. To avoid
  precedence beyond COVID-19, an ETP will be messaged to the host nation as
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  port selection, host nation mitigation and testing requirements, alternate
  port options, impact to mission if the request is denied, medical, legal,
  collection and privacy risk, and feedback from country team coordination.
  Notifications and requests may be sent via record message traffic, email to
  the POC provided above, or both.

  9.d. Guidance for Commanders. Per the direction of their GNCCs, Commanders
  shall comply with domestic and foreign quarantine regulations for port entry
  and document compliance on NAVMED 6210/3. Absent GNCC approval in advance,
  Commanders will not submit to host nation COVID-19 testing nor provide
  individual or collective medical data, copies of health records, nor any
  supplementary or locally-demanded health forms, and shall not grant access
  to ship or crew health records or allow the same to be searched or inspected
  by host nations. If compelling circumstances require a Commander to
  acquiesce to additional host nation requirements without obtaining an ETP or
  GNCC concurrence (e.g., personnel emergency, weather avoidance), report the
  event and circumstances as soon as practicable to OPNAV N3N5 via the chain
  of command.

  10. Reporting Procedures. Reference (g) is cancelled. All COVID-19 cases
  for Navy service members, dependents, civilian employees, and contractors
  shall be reported to Senior Navy Leadership via the OPNAV COVID-19
  SharePoint; access and instructions are available at
  [https://portal.secnav.navy.mil/cop/crc/COVID]. OPREP-3 Navy Blue messages
  are required for: 1) COVID-19 related deaths; 2) Service Member MEDEVACs
  associated with COVID-19; 3) COVID-19 media interest events, and 4)
  Significant operational impacts due to COVID-19.
  Format messages IAW Reference (h).

  11. Released by VADM W. R. Merz, Deputy Chief of Naval Operations for
  Operations, Plans and Strategy, OPNAV N3N5.//

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                Exhibit 3




                                                                       App 013
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              Exhibit A




                                                                       App 018
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                                DEPARTMENT OF THE NAVY
                                    CHIEF OF NAVAL PERSONNEL
                                   701 SOUTH COURTHOUSE ROAD
                                      ARLINGTON VA 22204-2472



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BUPERS INSTRUCTION 1730.11A

From: Chief of Naval Personnel

Subj: STANDARDS AND PROCEDURES GOVERNING THE ACCOMMODATION OF
      RELIGIOUS PRACTICES

Ref:   (a) DoD Instruction 1300.17 of 10 February 2009
       (b) SECNAVINST 1730.8B
       (c) NAVPERS 15665I
       (d) BUMEDINST 6230.15B

Encl: (1) Sample Request for Waiver of Policy to Accommodate a Religious Practice
          (Template)
      (2) Chaplain Interview Checklist (Template)
      (3) Chaplain Memorandum for the Record (Template)
      (4) Religious Accommodation Approval or Endorsement (Template)

1. Purpose. To provide policy, guidance, procedures and responsibilities for the
accommodation of practices in support of sincerely held religious beliefs for Sailors and
prospective accessions, per references (a) and (b). Reference (c) provides the Navy’s manner of
wear policy for the most commonly requested waivers of uniform and grooming standards in
support of religious practices, as delineated in paragraph 5.

    a. This revision updates policy, guidance and procedures for the accommodation of
practices in support of sincerely held religious beliefs.

   b. This is a complete revision and should be reviewed in its entirety.

2. Cancellation. BUPERSINST 1730.11.

3. Scope and Applicability

    a. This instruction applies to all active and reserve members of the Navy, including
applicants for entry into the Navy and Navy Reserve, as well as midshipmen at the U.S. Naval
Academy (USNA) and in the Naval Reserve Officers Training Corps (NROTC), and officers and
officer candidates in Navy officer accession programs. Nothing in this instruction precludes
disciplinary or administrative action for conduct that is proscribed by the Uniform Code of
Military Justice or supporting policies.




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   b. Conscientious Objectors. Conscientious objections are not covered under this instruction.
See DoD Instruction 1300.06 (Conscientious Objector) of 12 July 2017.

   c. Peyote Use. Peyote use is not covered under this instruction. See Assistant Secretary of
Defense for Force Management Policy Memorandum of 25 April 1997, Sacramental Use of
Peyote by Native American Service Members.

3. Background. This policy complies with references (a) and (b) and supports the Navy’s
culture of diversity, tolerance and inclusion. In line with section 2000bb-1 of Title 42, United
States Code, requests for religious accommodation from a military policy, practice or duty that
substantially burdens a Sailor’s exercise of religion may be denied only when the military policy,
practice or duty furthers a compelling government interest and is the least restrictive means
available of furthering that compelling government interest. Religious liberty is more than
freedom to worship. It includes the freedom to integrate one’s religion into every aspect of one’s
life. When the policies or procedures of the Navy conflict with a Sailor’s religious practices, the
Navy works to support the Sailor’s religious practices to the broadest extent possible within the
bounds of military readiness, unit cohesion, good order, discipline, health and safety. Many
religious practices such as (but not limited to) religious observances and dietary practices do not
need a request for waiver of policy and can be accommodated at the command level.

4. Roles and Responsibilities

   a. Sailors. Sailors seeking accommodation of a religious practice that requires a waiver of
Navy policy (“requestors”) must submit a request in writing to their commander, consistent with
enclosure (1). Prospective accessions seeking accommodation of a religious practice that
requires a waiver of Navy policy (“requestors”) should use the accession source chain of
command, consistent with subparagraph 5b, enclosure (1) and Table 2.

       (1) A requestor must comply with the applicable policy, practice, direction or duty from
which he or she is requesting a religious accommodation until the request is adjudicated.
Additionally, commanders and commanding officers (“commanders”) may temporarily modify
or suspend a religious accommodation, consistent with subparagraph 5g.

        (2) A requestor with an approved religious accommodation must inform his or her chain
of command of the approved accommodation upon checking in to a new command or changing
duties. A requestor must retain a copy of the approved accommodation and be able to produce it
within five working days.

   b. Chaplains. Command chaplains are responsible for advising and assisting commands
with religious accommodation policy execution. In line with SECNAVINST 1730.7E,
chaplains, assisted by Religious Program Specialists, provide for and facilitate religious
requirements of Sailors and authorized users and advise commanders on command religious
program matters throughout the Department of the Navy (DON).



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        (1) A Navy chaplain will conduct an administrative interview for each religious
accommodation request that requires a waiver of policy. Local chaplains should be used if
available. Chaplains may use any means available to ensure the interview takes place promptly,
such as telephone or video conference. The chaplain should use enclosure (2) during the
interview and must produce a memorandum for the record consistent with enclosure (3).

       (2) The chaplain will inform the Sailor or prospective accession that the interview is for
the purpose of preparing a memorandum for the record and advising the command, and that the
content of the interview is not privileged or confidential as defined in SECNAVINST 1730.9A
and the Manual for Courts-Martial Military Rule of Evidence 503.

   c. Commanders and Commanding Officers (CO). Commanders must process requests
according to the timelines, routing and criteria set forth in this instruction.

       (1) When forwarding a request for adjudication or appeal, commanders will use
enclosure (4).

        (2) Commanders must obtain the advice of a judge advocate and a chaplain prior to
acting on a request that involves a waiver of Navy policy.

       (3) Commanders will include a religious needs assessment upon check-in to the
command in line with OPNAVINST 1730.1E to include identification of Sailors who may need
previously-approved religious accommodation waivers reviewed.

    d. Deputy Chief of Naval Operations (Manpower, Personnel, Training and Education)
(CNO N1). CNO N1 is responsible for overseeing this religious accommodation policy and will
review and act on religious accommodation requests that require waiver of Department of Navy
(DON) policy and are routed to CNO N1 for approval as indicated in Tables 1 and 2.

5. Policy. In accordance with Article 0820 of United States Navy Regulations, 1990,
commanders will provide maximum opportunity for the free exercise of religion by members of
the naval service.

    a. Standards-Based Approach. The Navy has a compelling governmental interest in mission
accomplishment at the individual, unit and organizational levels, including such necessary
elements of mission accomplishment as military readiness, unit cohesion, good order, discipline,
health and safety. The military is a specialized community within the United States, governed by
a discipline separate from the rest of society. All Navy personnel must expeditiously review and
act on requests for religious accommodations. Many religious practices do not require an
exception to Navy policy and can be accommodated at the command level. The term “religious
practice” includes any exercise of religion, whether or not compelled by, or central to, a system
of religious belief.




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        (1) Each request for religious accommodation must be reviewed on a case-by-case basis,
giving consideration to the full range of facts and circumstances relevant to the specific request.
Requests to accommodate religious practices should not be approved or denied simply because
similar requests were approved or denied. The following factors should be considered:

            (a) applicable operational or regional policies,

          (b) importance of the military policy, practice or duty in terms of mission
accomplishment, including military readiness, unit cohesion, good order, discipline, health, or
safety,

            (c) importance of the practice to the requestor,

            (d) cumulative impact of repeated accommodations of a similar nature and

            (e) alternate means to fulfill the request.

        (2) To comply with the intent of section 2000bb-1 of Title 42, U.S. Code, commanders
and their staffs should remain objective in considering requests to accommodate religious
practices. Commanders will not deny or recommend denial of a religious accommodation unless
the denial or partial denial furthers a compelling governmental interest and is the least restrictive
means of furthering that compelling government interest. It is essential that commanders
articulate the factual basis underlying any compelling government interest and that they
articulate why a recommended denial or partial denial is the least restrictive means available to
the commander to protect the compelling government interest over the individual request.
Factors to consider include (but are not limited to) whether approving the accommodation
would:

          (a) pose a health or safety hazard (such as flammable materials or loose clothing that
could become caught in a piece of equipment),

          (b) interfere with the wear or proper function of special or protective clothing or
equipment (such as a respirator, protective helmet or communication gear) or

            (c) otherwise impair mission accomplishment, good order, discipline, morale or unit
cohesion.

       (3) Sometimes it is necessary for commanders to recommend an alternative manner by
which the religious requirement may be met. For example, there may be options and resources
not known to the member at the time of his or her request that might be known to the
commander. Those alternatives should be discussed and offered to the member to determine if
they might satisfy some or all of the member’s religious requirement. Where appropriate, the
chaplain memorandum may discuss alternative means available to address the requested
accommodation.


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   b. Accessions

        (1) Navy accession sources, Navy Recruiting Command, Naval Service Training
Command, USNA and U.S. Navy Bureau of Medicine and Surgery (BUMED), are the
designated chains of command for pre-accession requests in line with Table 2. Accession source
headquarters are responsible for ensuring active and reserve enlisted and officer accessions are
informed of uniform and grooming standards and policies, as well as procedures for seeking
religious accommodations. Accession source headquarters must document this opportunity in
writing and ensure all accession requests for religious accommodation are adjudicated prior to
entering service. The following language should be used to document the applicant
understanding of the Navy’s religious accommodation policy:

       “I understand that Department of the Navy policy is to accommodate religious
       practices whenever possible, unless doing so would have an adverse impact on
       mission accomplishment, including military readiness, unit cohesion, good order,
       discipline or health and safety.

       I understand accommodation of my religious practices cannot be guaranteed at
       all times. I understand that determination of military necessity rests entirely with
       my Navy chain of command, and that I will be expected to comply with the
       Navy’s policy, practice or duty from which I am requesting accommodation
       unless and until approved by the designated authority.

       I do NOT desire to request support for specific religious practices at this time

       __________________________
       (Applicant Signature)

       I DO desire to request support for the following religious practice(s):

       ______________________________________
       (Type of Request)

       __________________________
       (Applicant Signature)

       Applicants requesting religious accommodation may not enlist or commission
       until they receive a final response in writing. Accession commands must
       immediately process the request in line with BUPERSINST 1730.11A
       (Standards and Procedures Governing the Accommodation of Religious
       Practices).

       (Typed or Printed Name and Signature of Witnessing Recruiting
       Representative)”


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Table 2. Authorities and Religious Practices for Pre-Accession and Recruit Training

    c. Timelines. For waivers of policy requiring adjudication at the commander or O-6
CO/ISIC level, final review and written notification to the requestor will be completed no later
than 7 days from the date the requestor submitted the request to his or her immediate
commander. Extensions for good cause may be granted by the Director, Military Personnel,
Plans and Policy (OPNAV N13). Examples of good cause for an extension include operational
necessity or lack of immediate access to a judge advocate or chaplain. All religious
accommodation cases forwarded from an O-6 CO/ISIC or RTC/OTCN to CNO N1 for
adjudication must be forwarded within 7 days from the date the requestor submitted the request
to his/her immediate commander, and will be expeditiously adjudicated in line with references
(a) and (b). To ensure timely and consistent adjudication of all requests, active and reserve
Sailors will not submit a request for a religious accommodation that would require a waiver of
Navy policy if they are expected to execute permanent change of station orders within 90 days.
Written notification should be given to the requestor within 5 days upon any decision,
modification, suspension or revocation of a waiver of policy.

d. Religious Practice Type

        (1) Observances of Worship and Holy Days. Worship practices, holy days and Sabbath
or similar religious observance requests will be accommodated except by necessity, consistent
with mission accomplishment, U.S. Navy Regulations, and Navy Military Personnel Manual
(MILPERSMAN) article 1731-010. These requests do not normally require a waiver of policy.

         (2) Dietary Practices. Commanders should support religious dietary observances to the
fullest extent possible. Commanders normally support religious dietary observances through a
standard core menu that supports many religious dietary requirements or by issuing Meals Ready
to Eat, Religious. In certain circumstances, commanders may consider other alternative
solutions.

        (3) Immunizations. The Navy requires immunizations for all Sailors, based on its
compelling interest in mission accomplishment, including military readiness, unit cohesion, good
order, discipline, health and safety. Local commanders should make a reasonable effort to
acquire alternative vaccinations, when available, that meet both religious needs of Sailors and the
Navy’s immunization requirements as determined by BUMED. Refer to MILPERSMAN 1730-
020 as needed. Medical waivers of immunization requirements not associated with religious
belief will continue to be adjudicated by the health care provider as addressed in reference (d).

        (4) Uniform and Grooming. Pursuant to subparagraph 5a above, to determine whether a
religious accommodation might interfere with the accomplishment of the unit or individual
mission(s), a commander should consider such factors as the safe and effective operation of
weapons, work center equipment and machinery, as well as wear of protective clothing or
equipment. Commanders should also state in the endorsement or approval how the religious
accommodation may need to be modified in operational, non-operational or training
environments.
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             (a) Head Coverings. As delineated in Table 1, religious accommodations for Sailors
on all duty types to wear neat and conservative religious head coverings such as (but not limited
to) a hijab, turban, kufi, kippah or yarmulke may be authorized at the O-6 CO/ISIC level based
upon the operational environment and in line with reference (c). Except in the case of safety or
protective headgear required by a Sailor’s duties, position or assignment, Sailors granted a
religious accommodation for head coverings are not required to wear military headgear in
addition to their religious head covering if such military headgear would violate their sincerely
held religious beliefs.

            (b) Unshorn/Long Hair. As delineated in Table 1, waivers of Navy policy for male
Sailors on all duty types to wear unshorn/long hair must be sent to CNO N1 for decision.

            (c) Beards. As delineated in Table 1, waivers of Navy policy for Sailors on all duty
types to wear a beard must be sent to CNO N1 for decision. Approved unshorn beards must be
worn in a neat and conservative manner. When a Sailor is authorized to wear a beard of greater
than 2 inches in length, the beard must be rolled, tied and/or otherwise groomed to achieve a
length not to exceed 2 inches when measured from the bottom of the chin.

        (5) Deoxyribonucleic Acid (DNA) Specimen Sampling. Waiver requests from
participation in DNA specimen collection should be forwarded to CNO N1 for final adjudication.
BUMED will be consulted prior to final adjudication.

       (6) Other Religious Accommodation Requests. All other religious accommodation
requests requiring a policy waiver not specified under this section will be routed to CNO N1 via
OPNAV N13 for adjudication.

   e. Routing. For those requests that require a waiver of policy:

        (1) A requestor seeking a waiver of Navy policy must submit a request in writing through
his or her commander using the template at enclosure (1). The requestor must state the waiver
sought and may elaborate on the sincerely-held religious beliefs or circumstances motivating the
request.

        (2) Every requestor seeking religious accommodation requiring a waiver of Navy policy
must interview with a Navy chaplain. The chaplain will assess whether the requestor’s religious
beliefs appear sincerely-held, and will forward an evaluation to the commander using the
templates provided in enclosures (2) and (3).

       (3) Commanders will take appropriate action on requests to stay within the timelines
in subparagraph 5(c). Requests forwarded by a commander to the O-6 CO/ISIC or to CNO N1
must include enclosures (1) through (4). There are no additional requirements.

       (4) A copy of all waivers of uniform or grooming policy authorized at the O-6 CO/ISIC
level must be forwarded via e-mail to OPNAV N13 for record keeping purposes at
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ALTN_Navy_Religious_Accommodations@navy.mil. Requests forwarded from the O-6
CO/ISIC level to CNO N1 for adjudication must also be sent to that email address. Forwarding
waiver requests to OPNAV N13 via mail is highly discouraged and can potentially delay a
decision for a Sailor.

        (5) For commands that do not have regular Navy/Marine Corps Intranet email accounts
(e.g., overseas, sea duty or joint commands), email OPNAV N13 at
ALTN_Navy_Religious_Accommodations@navy.mil first before sending attachments.

        (6) If the request contains Personally Identifiable Information (PII), the request must be
labelled and encrypted appropriately.

        (7) A requestor who reports directly to another U.S. military service must route religious
accommodation requests to the authority specified in the policies of that military service. Sailors
assigned to a Joint command will route requests to their respective Navy Element Commander
for approval or recommendation to CNO N1 as delineated in Table 1. In all circumstances
Sailors will adhere to the provisions set forth in subparagraph 4a.

       (8) Questions from commands and requesters concerning religious accommodation
requests may be referred to ALTN_Navy_Religious_Accommodations@navy.mil.

   f. Appeals

        (1) Appeals of command-level adjudication will be forwarded to the commander’s O-6
CO/ISIC for adjudication. Appeals of O-6 CO/ISIC level adjudication will be forwarded to
CNO N1 for adjudication within 15 days from the date the requestor submits the appeal.
Appeals of CNO N1 adjudication will be forwarded to the Chief of Naval Operations (CNO) for
final adjudication, unless other direction is provided in reference (a) or (b).

       (2) When a religious accommodation request is denied, the requestor may renew the
request upon a change in physical, operational or geographical environment, or at any time in
which there is a change to pertinent policy.

    g. Approval Duration, Withdrawal and Suspension. Religious accommodations are subject
to review, suspension or revocation, in whole or in part, any time there is a change in the
circumstances upon which the initial religious accommodation was based (e.g., new duty
assignment, temporary duty or other material change in circumstances). However, an approved
religious accommodation remains in effect until the commander or future commander notifies
the Sailor or candidate in writing that a compelling government interest requires suspension or
revocation of the accommodation. The written notification must include the nature of the
changed circumstances and specify the reason for the revocation and the length of the
suspension.




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         (1) The authority to temporarily suspend a previously approved religious accommodation
resides with the Sailor’s CO, while the authority to permanently revoke a previously approved
religious accommodation remains with CNO N1. A commander may suspend or initiate
revocation of an approved religious accommodation only upon a determination that a compelling
government interest requires such suspension or revocation and that no less restrictive means of
furthering that compelling government interest are available. The decision to suspend or initiate
revocation of an approved religious accommodation must be informed by the factors enumerated
in this instruction.

       (2) A commander may require immediate compliance with suspension of a religious
accommodation only if necessary due to an imminent threat to health or safety. In any case in
which there is no imminent threat, the Sailor or candidate must be given five business days to
submit an appeal using the process described in subparagraph 5f(1). The religious
accommodation will remain in effect until the appeal process is completed. When necessary, a
Sailor may be assigned to temporary additional duty orders to protect him or her from
circumstances that are incompatible with the religious accommodation while the appeal is being
adjudicated.

        (3) When there is a change in military duties or requirements, a commander may suspend
a previously approved religious accommodation if the suspension furthers a compelling
government interest and is the least restrictive means available to further that interest. For
example, a Sailor with a grooming waiver authorizing him to wear a beard may be required to
shave the beard to deploy to an area in which there is a high risk that the Sailor will have to don a
gasmask. When the conditions that required the suspension are no longer present, the Sailor may
resume the religious practice per the original waiver. There is no requirement for a Sailor to
resubmit a request for a religious accommodation that has been suspended.

6. Records Management

   a. Records created as a result of this instruction, regardless of format or media, must be
maintained and dispositioned for the standard subject identification codes (SSIC) 1000 through
13000 series per the records disposition schedules located on the Department of the
Navy/Assistant for Administration (DON/AA), Directives and Records Management Division
(DRMD) portal page at https://portal.secnav.navy.mil/orgs/DUSNM/DONAA/DRM/Records-
and-Information-Management/Approved%20Record%20Schedules/Forms/AllItems.aspx.

    b. For questions concerning the management of records related to this instruction or the
records disposition schedules, please contact your local records manager or the DON/AA DRMD
program office.

7. Review and Effective Date. Per OPNAVINST 5215.17A, OPNAV N13 will review this
instruction annually on the anniversary of its issuance date to ensure applicability, currency and
consistency with Federal, Department of Defense, SECNAV and Navy policy and statutory
authority using OPNAV 5215/40 Review of Instruction. This instruction will be in effect for 5
years unless revised or cancelled in the interim, and will be reissued by the 5-year anniversary
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date if it is still required, unless it meets one of the exceptions in OPNAVINST 5215.17A,
paragraph 9. Otherwise, if the instruction is no longer required, it will be processed for
cancellation following the guidance in OPNAV Manual 5215.1 of May 2016.




Releasability and distribution:
This instruction is cleared for public release and is available electronically only via
BUPERS/NAVPERSCOM Web site, https://www.public.navy.mil/bupers-
npc/reference/Pages/default.aspx




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  SAMPLE REQUEST FOR WAIVER OF POLICY TO ACCOMMODATE A RELIGIOUS
                       PRACTICE (TEMPLATE)

                                                                                   (Date)

From: Rate or rank, as applicable, full name, branch and type of service as applicable
To:   Appropriate authority per Table 1 or Table 2 (i.e., O-6 CO/ISIC or CNO N1)
Via: Appropriate authority per Table 1 or Table 2 (i.e., CO, O-6 CO/ISIC)

Subj: REQUEST FOR WAIVER OF POLICY IN SUPPORT OF RELIGIOUS PRACTICE

Ref:   (a) DoD Instruction 1300.17 of 10 February 2009
       (b) SECNAVINST 1730.8
       (c) BUPERSINST 1730.11
       (d) Other references as needed

Encl: (1) Photograph or graphic (as needed to show the neat and conservative color, manner of
wear, etc.)
       (2) Optional enclosures (e.g., religious leader endorsement or research in applicable area)

1. Pursuant to references (a) through (c), I hereby request religious accommodation from Navy
policy (use reference as needed) to ___(describe the specific practice(s)) _____ due to my
religious belief that _____(paraphrase religious basis of the request)__.

2. My request is based on my religious belief that____________ (provide a detailed explanation
here as desired)_______ and reference enclosure (1) or (2) as needed/desired.

3. (Required statement) I certify that I understand that any approved or partially approved
waiver may not be appropriate for future duty to which I may be assigned, including operational,
non-operational or training command(s), and may be suspended or withdrawn in accordance with
reference (c).


                                                 ________________________
                                                 (Signature)




                                                                                    Enclosure (1)
                                                                                            App 031
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              CHAPLAIN MEMORANDUM FOR THE RECORD (TEMPLATE)

From: [Chaplain’s rank and name], CHC, USN
To:   [Commanding Officer of requestor]

Subj: REQUEST FOR A WAIVER OF POLICY TO ACCOMMODATE PRACTICE
      BASED ON RELIGIOUS BELIEF ICO [REQUESTOR’S RANK, NAME]

Ref:   (a) SECNAVINST 1730.8
       (b) SECNAVINST 1730.9

1. (Requestor’s rank and name) has submitted a request for accommodation of a religious
practice per reference (a). Per BUPERSINST 1730.11A, I interviewed the requestor on (date). I
explained that this interview would not be a confidential communication as defined by reference
(b) and informed the requestor that referral for confidential chaplain support was available.

2. Nature of the request. (Provide a narrative summary of the request for religious
accommodation and whether or not the requestor has previously had this or any other related
request approved or denied)

3. Basis. (Identify the religious beliefs on which the accommodation request is based and
provide a professional and objective opinion regarding the religious importance of the request to
the member. Include the requestor’s religion as listed on NAVPERS 1070/602 (Page 2).

4. Alternate Means. (Indicate alternate means of meeting the request)

5. Sincerity. (Assess the sincerity of the requestor. The memorandum should focus on the
sincerity of the member’s personal religious beliefs, including the information provided during
the interview.)

6. My contact information is (telephone number and e-mail address).



                                                 [Signature]

Copy to:
(Rank and name of requestor)




                                                                                    Enclosure (3)
                                                                                           App 033
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    RELIGIOUS ACCOMMODATION APPROVAL OR ENDORSEMENT (TEMPLATE)

                                                                                       (Date)
From: Appropriate authority per Table 1 or Table 2
To:   Appropriate authority per Table 1 or Table 2
Via: As applicable with appropriate authority per Table 1 or Table 2

Subj: APPROVAL (or) APPROVAL/DISAPPROVAL RECOMMENDATION ICO (INSERT
      NAME HERE) RELIGIOUS ACCOMMODATION

Ref:   (a) DoD Instruction 1300.17
       (b) SECNAVINST 1730.8
       (c) BUPERSINST 1730.11A
       (d) Other references as needed including regional or operational policy

Encl: (1) Sailor/accession request of DD MMM YY
      (2) Chaplain Memorandum and Interview Checklist
      (3) Other enclosures as needed (e.g., operational or regional policy)

1. Per references (a) through (c)/(d), I am approving this request or I am forwarding this request
recommending approval/disapproval in full or in part during the following environments (as
applicable to the command):

   a. Operational recommendation:

   b. Non-operational recommendation:

   c. Training environment recommendation:

2. The following information was considered or is provided for consideration as applicable
(articulate the factual basis underlying any compelling government interest and why the denial or
partial denial is the least restrictive means available to protect the compelling government
interest over the individual request):

   a. The importance of the military policy, practice or duty from which religious
accommodation is sought in terms of mission accomplishment, including:

       (1) Military readiness:

       (2) Unit cohesion:

       (3) Good order and discipline:

       (4) Health and safety:


                                                                                     Enclosure (4)
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                                                                         BUPERSINST 1730.11A
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   b. The religious importance of the practice to the requestor.

    c. The cumulative impact of repeated accommodations of religious practices of a similar
nature.

   d. Alternate means available to accommodate the practice in whole or in part.

3. Other pertinent issues or information associated with this request.

4. My point of contact (POC) for this matter is ____________ (insert POC here) who can be
reached at ____________(insert e-mail and telephone number here).

5. This approval/recommendation will be emailed to OPNAV N131 for review/decision within
the timelines in reference (c). Otherwise, Commander should provide the timeline/waiver of
timeline here as applicable.



                                                 ________________________
                                                 (Signature)

Copy to:
OPNAV N131
Operational Commander(s),
Requestor, etc.




                                                2                                  Enclosure (4)
                                                                                          App 035
